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 7                                     UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    AGK SIERRA DE MONTSERRAT, L.P.,                    No. 2:15-cv-1280 KJM DAD
11                        Plaintiff,
12          v.                                           STATUS (PRETRIAL SCHEDULING)
13    COMERICA BANK, et al.,                             ORDER
14                        Defendant.
15

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17                  Having reviewed the parties’ Joint Status Report filed on March 11, 2019, the

18   court lifts the stay in this case and sets the following schedule:

19                           Description                                        Date
20        Fact Discovery Cutoff                                August 2, 2019
21        Expert Disclosures                                   August 30, 2019
22        Rebuttal Expert Disclosures                          September 27, 2019
23        Completion of Expert Discovery                       November 1, 2019
24        Dispositive Motions Hearing Date                     December 6, 2019 at 10:00 a.m. in
                                                               Courtroom No. 3
25

26          The court will set a Final Pretrial Conference date after the resolution of any dispositive
27   motions, or passage of the dispositive motion cutoff, with a trial date being determined at the
28
                                                         1
     Case 2:15-cv-01280-KJM-DB Document 43 Filed 03/25/19 Page 2 of 2

 1   pretrial conference. The parties should be prepared to confirm a trial date within 60 to 120 days
 2   from the date of the final pretrial conference, and should be available for trial accordingly.
 3   DATED: March 25, 2019.
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 5                                                   UNITED STATES DISTRICT JUDGE

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